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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
SEALED,                             )
                                    )
            v.                      )  No. 1:21-gj-00048 (BAH) (SEALED)
                                    )
SEALED.                             )
___________________________________ )

APPLICANT:              Giorgi Rtskhiladze
                        32 Old Bethel Road
                        Newtown, CT 06470

RELATED CASE: Rtskhiladze v. Mueller, et al., No. 1:20-cv-1591 (CRC)

                     NOTICE OF ARTICLE IN THE DAILY MAIL (UK)

        Consistent with undersigned counsel’s responsibilities as an officer of the Court, notice is

hereby given that on February 18, 2022, an article appeared in the Daily Mail (UK) that referred

to the subject of Petitioner’s Rule 60(b) Motion and accompanying Declaration of Petitioner. 1

Counsel was not involved in the initiation or preparation of this article. According to the article,

the reporter obtained a copy of the Rule 60(b) materials during the eighteen-hour period between

the time the Motion was filed and the time it was sealed. Counsel regrets that this occurred and

takes full responsibility.

        Counsel has reviewed both Petitioner’s book, Kompromat: My Story from Trump to

Mueller and USSR to USA (Rare Bird Books 2020) and the Amended Complaint in the related

case. There is nothing in the Daily Mail article that is not already in the public domain in

Kompromat and or the Amended Complaint. In Kompromat, for example, Petitioner covers




https://www.dailymail.co.uk/news/article-10520769/Georgian-businessman-accuses-former-
Clinton-lawyer-Jeannie-Rhee-infiltrating-Mueller-team.html. 1
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being questioned by Prosecutor Rhee and her attempt to characterize him as a Russian. 2 The

book addresses Petitioner’s telephone call from a friend telling him about overhearing a person

dining at a nearby table bragging about having some compromising tapes of Donald Trump. 3

And the book covers his surmise while being questioned by Rhee before the grand jury that if

there were tapes it could be the Crocus Group because it sponsored the 2013 Miss Universe

Pageant and hosted Trump’s visit for the contest. 4 The Amended Complaint also covers these

topics. 5




2
  Kompromat at 129-131 (Ch. 8 “Back in the Grand Jury Room”); id. at 129 (“It was clear that
all they cared about was Russia. They wanted me to admit to being Trump’s connection to
Russian money, to the infamous kompromat video of Trump in Russia, and to have me confess
that Russians I knew were using me to gain leverage against the president. It was preposterous
and ridiculous. I made clear that I was no such thing, and I refused to let them make me out as
such. I wasn’t even a Russian. I was an American, and I was born in Georgia.”); id. at 130
(“Rhee continued to insist that I was connected to Russia. She told the grand jury that I came
from ‘a prominent Russian family.’ That is when I decided I needed to reassert myself and take
control of the narrative by saying, ‘No, that’s absolutely incorrect.’ I again had to explain to
everyone sitting there that the difference between Georgians and Russians. Georgians have been
suppressed, repressed, beaten down, and isolated by Russia for a long time. Since independence,
every single day the borders of sovereign Georgia are encroached upon by Russia as they try to
expand the contested Georgian territories they’ve occupied since 2008.”).
3
  Id. at 209-216 (Ch. 13 “Final Rounds with Prosecutor Rhee”); id. at 210 (“As I explained, not
for the first time or last time, my friend said it was a random person, not someone he knew, that
was bragging about the tapes. It was no business of mine. But I thought I should give Michael
Cohen a heads-up that this is what people were gossiping about. Not only because I thought
Michael should know, but also because it could affect Trump’s business reputation. An
ultimately that could impact the deals we had and were hoping to do.”).
4
    Id. at 211-214.
5
    AC ¶¶ 21-23, 28-42.
                                                2
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                           Respectfully submitted,

                           ________________________
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                                     Certificate of Service

       On February 19, 2022, I, Jerome A. Madden, using the CM ECF filing system for this

proceeding provided a true and accurate copy of this Reply upon counsel for the United States:

                                     Rebecca M. Kopplin
                                        Trial Attorney
                                  U.S. Department of Justice
                           Civil Division, Federal Programs Branch
                                     1100 L Street, N.W.
                                   Washington, D.C. 20530

                                                              __________________
                                                              Jerome A. Madden




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